Case 3:19-bk-30822        Doc 147    Filed 11/25/19 Entered 11/25/19 14:17:03      Desc Main
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 This document has been electronically entered in the records of the United
 States Bankruptcy Court for the Southern District of Ohio.

 IT IS SO ORDERED.




 Dated: November 25, 2019




                              UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF OHIO
                                WESTERN DIVISION AT DAYTON

 In re: TAGNETICS INC.,
                                                     Case No.   19‐30822

                                                     Judge Humphrey
                                                     Chapter 7



                  Order Fixing Date for Filing of Response to Motion to Hold
                          Tagnetics in Indirect Contempt (Doc. 145)

        This matter is before the court on the Motion to Hold Tagnetics in Indirect Contempt
 (doc. 145) (the “Motion”), filed by Petitioning Creditors Jonathan Hager, Ronald E. Earley
 and Kenneth W. Kayser.

         Any response to the Motion (doc. 145) shall be filed and served in accordance with
 Local Bankruptcy Rule 9013‐3 not later than December 13, 2019. Any reply may be filed not
 later than December 20, 2019.

        IT IS SO ORDERED.

 Copies to: All Creditors and Parties in Interest, Plus

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